Plaintiff has moved to have Dr. Warren A. Blackburn designated as her primary treating physician. At this time, defendant is in the process of obtaining certain medical records relating to this request. Accordingly, at this time, the ruling upon Plaintiffs Motion for a Change of Physicians is hereby held in ABEYANCE for a period of SIXTY DAYS (60) from the date of receipt of this Order.
No additional costs are assessed at this time.
                                S/_______________ CHRISTOPHER SCOTT COMMISSIONER
CONCURRING:
S/_____________ THOMAS J. BOLCH COMMISSIONER
S/_______________ RENÉE C. RIGGSBEE COMMISSIONER